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                           UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF COLUMBIA


UNITED STATES OF AMERICA,                    :
                                             :
               v.                            :       Criminal No. 19-cr-395 (BAH)
                                             :
LARRY DEAN HARMON,                           :
                                             :
                      Defendant              :

            DECLARATION IN SUPPORT OF GOVERNMENT’S OPPOSITION
               TO DEFENDANT’S MOTION FOR RELEASE OF FUNDS


I, Matthew Price, depose and state as follows:

       1.      I am a federal agent with the Internal Revenue Service-Criminal Investigation

Division (IRS-CI). I am currently assigned to the Cyber Crimes Unit with IRS-CI, and I have

experience investigating cases involving virtual currency, money laundering, the Darknet, and

other criminal schemes perpetrated via the Internet. I have been involved in the investigation of

the HELIX money laundering service and its administrator, Larry Harmon (“Harmon”).

       I.      HELIX – BACKGROUND AND ATTRIBUTION

       2.      HELIX was a Darknet-based money laundering service that operated between in

or about June 2014 and in or about December 2017. Evidence recovered from computers, email

accounts and other storage media controlled by Harmon confirm he created and administered

HELIX. On February 6, 2020, federal law enforcement agents executed search warrants on

Harmon’s residence and office properties in the Akron, Ohio area. On the same date, the Belize

Police Department executed a search of Harmon’s vacation condo in San Pedro, Belize in

response to a Mutual Legal Assistance Treaty request. During these searches, law enforcement

seized numerous electronic devices, including computers, mobile devices, external hard drives,

and other storage media from Harmon’s properties in Ohio and in Belize. IRS-CI Special Agent-
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Computer Investigative Specialists forensically imaged the devices for analysis. Investigators

located Apple Time Machine1 backups within several of the forensic images of devices seized

from Harmon’s property in Belize and business office in Akron, Ohio. One recovered Time

Machine backup included a series of files which constitutes the source code used to create and

operate the HELIX website. These files included graphics and logos used on the HELIX site,

PHP scripts2 used to process transactions, SQL database files, HTML files, account information

and IP address information for remote computer infrastructure, Tor address certificates, and other

files that formed the backbone of the Helix mixing site (See Attachment 1 for examples). These

files would be accessible only to the person who had access to the web server behind HELIX.

        3.       The source code recovered from Harmon’s Time Machine backups also revealed

that HELIX used bitcoin exchanges, including HitBTC, to help tumble user funds. The HELIX

code was designed such that certain transactions within the mixer utilized the HitBTC

application programming interface (API)3 to transfer bitcoin between HELIX and HitBTC to

further obfuscate the bitcoin. IRS-CI investigators identified at least 26 accounts at HitBTC

which Harmon used to help facilitate bitcoin transactions through HELIX. These 26 HitBTC

accounts were each registered using 26 distinct Yahoo email addresses, all of which followed the

same format pattern of: first name, last name, and three additional letters (e.g.,

keenakraskallc@yahoo.com).




1
  Time Machine is a backup software application distributed as part of the Apple MacOS. The application allows
users to back up their entire Mac computer, including system files, apps, music, photos, email and documents. The
backups can be saved on any internal or external storage device, such as an external hard drive.
2
  PHP is a server-side scripting language that is used to develop static or dynamic websites or web applications.
3
  An API is a set of routines, protocols, and tools for building automated software applications.

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       II.      HELIX SPECIFICALLY TARGETED DARKNET MARKET USERS

       4.      Harmon specifically marketed HELIX to Darknet market users. HELIX was

offered as a companion service to Grams, a Darknet search engine created by Harmon to make

Darknet markets more accessible. In fact, Harmon publicly stated in a Reddit post “I created

grams because 90% of the darknet was behind blackmarket sites which required a login to view.

This made it unsearchable by normal search engines. The only real way to get reliable

information about these parts of the darknet was to read forums and subreddits. I wanted to make

it easier for users to use the darknet” (See Attachment 2).

       5.      HELIX was designed and promoted to obfuscate Darknet bitcoin transactions by

severing the link between a Darknet user’s Clearnet accounts and Darknet transactions. A

Clearnet account, such as a cryptocurrency exchange account, is often an operational security

vulnerability for those involved in illicit Darknet transactions. This is because law enforcement

can use Know Your Customer information maintained by exchanges to identify the real-world

persona behind a Darknet bitcoin transaction. Similarly, many cryptocurrency exchanges utilize

blockchain analysis tools to prevent deposits to or from Darknet sites as part of their Anti-Money

Laundering (AML) due diligence programs. HELIX helped Darknet users to hide their

transactions from law enforcement and to circumvent AML programs by breaking the link on the

blockchain between a user’s Clearnet accounts and their Darknet activity. In Harmon’s words

posted on Reddit “. . . the helix system will sever the blockchain taint [and] by giving you new

coins which have not been through grams or the darknet” (See Attachment 3).

       6.      HELIX was advertised on the AlphaBay Market withdrawal page as a

recommended service for AlphaBay customers to “erase any trace of your coins coming from

Alphabay” (See Attachment 4). A forensic image of a Time Machine backup from Harmon’s



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seized devices included a PGP4 encrypted email messages in which Harmon was seeking to

integrate HELIX into other Darknet markets, including Cloud 9 Market and Evolution Market.

For example, on or about July 24, 2014, Harmon (using the moniker GramsAdmin) emailed an

administrator of Evolution Market to discuss integrating HELIX into Evolution Market and

explaining that HELIX had already been integrated into Cloud 9 Market. In the email, Harmon

states “I am working with missy from cloud 9 to integrate helix with her withdrawal system . . .

Markets get 1/3 of the fee helix charges so it could be a huge money maker for them” (See

Attachment 5).

        7.       Encrypted emails recovered from Time Machine backups found on Harmon’s

devices also revealed that he actively coordinated with well-known Darknet figures to promote

Helix to the Darknet market community. Harmon was in regular encrypted email

communication with the administrator of DeepDotWeb5 between in or about April 2014 through

at least January 2015. DeepDotWeb was known as the “Gateway to the Darknet” and was a

well-known site for Darknet users to find links to Darknet markets and Darknet market vendors.

In fact, Harmon coordinated the release of HELIX with the DeepDotWeb administrators and

used DeepDotWeb to promote HELIX and its integration with and compatibility with various

Darknet markets. For example, on or about August 5, 2014, Harmon sent a PGP encrypted email

to deepdotweb@gmail.com titled “Announcement Article” which appeared to be a press release

regarding improvements to HELIX. The message highlights steps HELIX took to ensure


4
  Pretty Good Privacy (PGP) is an encryption program that provides cryptographic privacy and authentication for
data communication. IRS-CI investigators were able to decrypt PGP-encrypted emails saved on Harmon’s devices
using Harmon’s PGP private keys which were also saved on his devices.
5
  DeepDotWeb was both a Clearnet and Darknet website that operated as the gateway to Darknet marketplaces. The
site included advertisements for Darknet markets, direct access to Darknet markets, and news and reviews of
Darknet services. DeepDotWeb received kickbacks from Darknet sites in the form of commissions from the sale of
illicit goods such as illegal narcotics. The alleged administrators of DeepDotWeb, Tal Prihar and Michael Phan,
were each indicted on or about April 24, 2019 in the Western District of Pennsylvania for money laundering
conspiracy.

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compatibility with the Evolution Market and a feature called Helix Market Integration.

According to the release, “This method also does not require you to have a Grams account. It is

integrated right in to your markets . . . The market will send the coins to Helix and then Helix

sends the clean coins to your withdraw address (minus the 3% fee)” (See Attachment 6).

       III.    HELIX WAS WIDELY USED TO CONCEAL BITCOIN MOVING TO
               AND FROM DARKNET MARKETS.

       8.      Blockchain analysis revealed that HELIX received at least 354,468 bitcoins

between the site’s launch in 2014 and when Harmon took it offline in December 2017. At least

43,319.68 of these bitcoins were traced directly to Darknet markets such as AlphaBay Market,

Nucleus Market, Dream Market, Agora Market, amongst numerous other Darknet markets. The

43,319.68 bitcoin figure includes only bitcoin sent directly from a known Darknet market wallet

to HELIX. It does not include bitcoin sent from exchanges or other “clean” sources through

HELIX prior to deposit into a Darknet market. It also does not include bitcoin sent from a

Darknet market to an intermediary address prior to being tumbled through HELIX.

       9.      Harmon not only promoted using HELIX to clean bitcoin from Darknet markets,

he also recommended that users send their bitcoin through numerous steps, including HELIX,

before making a deposit into or a withdrawal from a Darknet market. From Time Machine

backups located on Harmon’s devices, IRS-CI investigators recovered an email dated August 23,

2014 from gramsupport@lelantos.com sent in response to a question from a HELIX user. The

email states, “[y]es, if you are buying from coinbase, you should go coinbase ->Helix->

finaladdress. That is the simplest way. Alot of users prefer to go Coinbase->Helix->Local

wallet (electrum,multibit,bitcoin-qt)->market if you do it that way then your local wallet has

clean coins in it and you can send them to multiple markets or where ever you want at leisure”

(See Attachment 7). Harmon also publicly promoted using HELIX as an intermediate step prior

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to depositing bitcoin into a Darknet market. For example, on or about July 7, 2014, Harmon (as

GramsAdmin) posted to the r/DarkNetMarketsNoobs subreddit forum, explaining “the safest

thing to do is coinbase->anon wallet->helix->market” (See Attachment 8).

           10.     Communications recovered from Harmon’s devices reveal that HELIX customers

actively used HELIX as part of their routine to conceal their deposits into and withdrawals from

Darknet markets. In one such email found on a Time Machine backup recovered from Harmon’s

devices, dated January 14, 2015, a HELIX user explains, “[h]ere is a brief explanation of the

steps I took and why I feel it proves my coins were ‘cleaned’ . . . I allocated all of my coins from

cold storage . . . I then sent these coins to the helix deposit address . . . ultimately end up directly

to a wallet on AG”6 (See Attachment 9).

           11.     HELIX users integrated HELIX into their illicit transactions in numerous ways in

order to further distance themselves from association with Darknet market transactions. This

included using HELIX to tumble bitcoin prior to transferring bitcoin into a Darknet market.

Because of this, it is likely that HELIX was used to obfuscate far more Darknet-linked bitcoin

than just those sent directly from Darknet markets. Given that HELIX was hosted on the

Darknet and was an integral part of Grams, a site specifically designed to promote and link users

to Darknet markets and Darknet vendors, it is likely that most of the bitcoin processed by HELIX

was transferred with the purpose of obfuscating any links on the blockchain between a Darknet

user’s bitcoin transactions and the user’s true identity.

           IV.      BITCOIN SEIZED BY THE GOVERNMENT CAME FROM HELIX

           12.     Through analysis of the blockchain, analysis of the numerous bitcoin addresses

recovered from Harmon’s seized devices, and analysis of wallet addresses recovered from



6
    AG is a reference to Agora Market, a well-known Darknet market.

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Harmon’s communications with HELIX users, IRS-CI investigators identified clusters of bitcoin

addresses that Harmon used to receive and send bitcoin on behalf of HELIX customers.

       13.     IRS-CI investigators determined that at least 8,850 bitcoin were retained by

Harmon from the operation of HELIX. These bitcoins appear to be residual bitcoin left from

each customer transaction and are likely Harmon’s profit from the operation of HELIX. IRS-CI

investigators reviewed the source code for HELIX recovered from Harmon’s devices and noted

that the service included a built-in fee of 2.5% per transaction. The amount of bitcoin retained

by Harmon closely tracks with the user fees charged by HELIX.

       14.     The residual bitcoin accumulated in several bitcoin addresses from which Harmon

periodically withdrew bitcoin. Harmon then moved the bitcoin through numerous transactions

before holding it within cold storage wallets, including the previously identified 16 Harmon

Wallets. See ECF No. 23-1.

       15.     On April 29, 2020 IRS-CI law enforcement personnel accessed a Trezor bitcoin

storage wallet seized from Harmon’s office using a PIN code and passphrase provided by

Harmon. The Trezor device’s hidden wallet feature held Harmon Wallets 12 through 16. IRS-

CI personnel downloaded the transaction history for these wallets and traced the source of the

bitcoin that had funded Harmon Wallets 12 through 16. The bitcoin contained within each wallet

is traceable back to the residual HELIX bitcoin described in paragraphs 13 and 14.

       16.     Harmon also exchanged the residual HELIX bitcoin for fiat currency using

conventional bitcoin exchanges, peer-to-peer bitcoin transaction platforms, and direct bitcoin

transaction with numerous individuals. IRS-CI investigators reviewed business and personal

bank records controlled by Harmon for the period that Helix was operational. An analysis of

these bank accounts revealed deposits consisted almost exclusively of the proceeds of bitcoin



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which Harmon had exchanged for fiat currency. Much of this bitcoin is traceable to HELIX.

IRS-CI investigators also reviewed business and personal tax returns recovered from a search

warrant on Harmon’s personal Gmail account. The tax returns revealed that Harmon’s only

reported income was from his businesses, which were funded with HELIX bitcoin. Harmon had

no identifiable sources of income other than the bitcoin he retained from Helix.

       17.     Harmon also sent a portion of the residual HELIX bitcoin to a BlockFi bitcoin

interest account held in his name. Between on or about March 12, 2019 and on or about June 6,

2019, Harmon transferred at least 325 bitcoins from the residual HELIX balances to his Blockfi

account. Law enforcement seized these funds on February 6, 2020 pursuant to a seizure warrant

issued in the District of Columbia.

       18.     Evidence obtained from Harmon’s seized devices and electronic communications

revealed Harmon spent a significant amount of time managing Grams and HELIX, responding to

customers, promoting the site, and providing advice on how best to utilize his services to

“safely” use the Darknet. The same evidence revealed Harmon actively tried to integrate his

services into numerous Darknet markets, even offering the market administrators a portion of the

mixing fees he charged. Harmon’s operation of HELIX netted him a significant sum of bitcoin

which was generated through HELIX’s and Grams’ active promotion and facilitation of illicit

transactions on the Darknet.




                      MATTHEW J. PRICE
                      SPECIAL AGENT
                      INTERNAL REVENUE SERVICE – CRIMINAL INVESTIGATION
                      June 3, 2020




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                                      Attachment 1




        File labeled “helix.png” recovered from Harmon’s Time Machine Backup




Snapshot of PHP script labeled “start.” The lines of code depict what was seen on the Helix
                                         website.




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                             Attachment 2




       GramsAdmin Reddit post dated July 11, 2014 (emphasis added)




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                             Attachment 3




      “Gramsadmin” Reddit post dated June 22, 2014 (emphasis added)




                                   11
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                             Attachment 4




         Screenshot of AlphaBay Market promotion of Grams Helix




                                  12
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                                 Attachment 5




Email dated July 24, 2014 decrypted using Harmon’s PGP keys from GramsAdmin
(grams@lelantos.org) to a Darknet market administrator titled “Helix Integration.”




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                              Attachment 6




 PGP-encrypted email dated August 4, 2014, recovered from Harmon’s devices


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                              Attachment 7




     Email dated August 23, 2014 from gramsupport@lelantos.com titled
             “Re: Problem with Helix ID: 9b17f02792107901”




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                               Attachment 8




GramsAdmin post on the Reddit r/DarkNetMarketsNoobs forum dated July 7, 2014




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                                   Attachment 9




Email from a HELIX customer to gramsupport@lelantos.org, recovered from Harmon’s Time
                                  Machine backups




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